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                                                                                             8/28/20
August 14, 2020

Via ECF and courtesy copy via email:
(ALCarterNYSDChambers @nysd.uscourts.gov)

Honorable Andrew L. Carter, Jr.
United States District Court
Southern District of New York
40 Foley Square, Room 435
New York, New York 10007

                  Re:     1:19-cv-02978-ALC and 1:20-cv-01791-ALC
                          Plaintiffs’ Request for Adjournment and Stay or Pre-Motion Conference

Dear Judge Carter:

    Our office, as counsel for Plaintiffs Hoechstetter, et al. in the above-referenced matter and in
accordance with Your Honor's Individual Practices, writes to advise the Court of recent developments
between the parties.

    On July 30, 2020, the undersigned counsel for Plaintiffs together with counsel for Defendants Columbia
University, et al. and New York Presbyterian Hospital executed the enclosed “Agreement” memorializing
the parties’ belief that “it is in their mutual interest to pursue settlement of the Claims at this time.” Pursuant
to the Agreement, each Claimant will provide a questionnaire to Defendants within the 45-day timeline
prescribed. Additionally, the parties will engage the services of a mediator to assist them in settlement
negotiations.

    In light of Plaintiffs’ and Defendants Columbia University, et al. and New York Presbyterian Hospital’s
mutual assent to the terms of the Agreement, and their desire to work together in hopes of achieving a
resolution, Plaintiffs’ counsel respectfully requests with the consent of all parties that the Court adjourn the
August 20th conferences in the above-referenced actions, and stay all proceedings in both actions for a
period of ninety (90) days from the Court’s Order granting such stay. A stay of the proceedings would
provide the parties the ability to fully engage in comprehensive alternative dispute resolution.

      Thank you for your attention to this matter and consideration of the foregoing.

Very truly yours,


Adam P. Slater, Esq.
Counsel for Plaintiffs
Slater Slater Schulman LLP                                                     8/28/20

cc:       All Parties Via ECF
          Magistrate Judge Katharine H. Parker Via Email:
          Parker_NYSDChambers@nysd.uscourts.gov
